         Case 2:08-cv-01241-JAM-EFB Document 19 Filed 06/05/08 Page 1 of 6


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 8                   IN THE UNITED STATES DISTRICT COURT
 9                 FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   VIDEO GAMING TECHNOLOGIES,                  No. 2:08-CV-01241 JAM EFB
     INC., dba VGT, Inc., a
12                                            TEMPORARY RESTRAINING ORDER AND
     Tennessee Corporation; UNITED
                                                   ORDER TO SHOW CAUSE RE
13   CEREBRAL PALSY OF GREATER                     PRELIMINARY INJUNCTION
     SACRAMENTO, a California Non-
14   Profit Corporation; WIND YOUTH
     SERVICES, a California Non-
15
     Profit Corporation; ROBERT
16   FOSS, an individual; JOAN
     SEBASTIANI, an individual,
17
              Plaintiffs,
18

19       v.

20   BUREAU OF GAMBLING CONTROL, a
     law enforcement division of the
21
     California Department of
22   Justice; MATHEW J. CAMPOY, in
     his official capacity as the
23   Acting Chief of the Bureau of
     Gambling Control,
24

25            Defendants.             /

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          This matter is before this Court on Plaintiffs’ Motion for
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     Temporary Restraining Order and Order to Show Cause Re


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         Case 2:08-cv-01241-JAM-EFB Document 19 Filed 06/05/08 Page 2 of 6


 1   Preliminary Injunction (“TRO Motion”). The Court, having
 2
     reviewed and fully considered Plaintiffs’ TRO Motion,
 3
     Defendants’ Opposition thereto, Plaintiffs’ Reply Brief in
 4
     Support of TRO Motion, all declarations and exhibits in support
 5

 6   and in opposition to Plaintiffs’ TRO Motion and the oral

 7   arguments of counsel at the hearing held before this Court on
 8
     June 5, 2008, the Court finds as follows:
 9
          (1)   The Court has jurisdiction to adjudicate this matter.
10
     The proscriptions of Title II of the Americans with Disabilities
11

12   Act, 42 U.S.C. §§ 12131-65, apply to state laws and ordinances.

13   See Bay Area Addiction Research and Treatment, Inc. v. City of
14
     Antioch, 179 F.3d 725, 730-32 (9th Cir. 1999); see also South
15
     Dakota Farm Bureau v. Hazeltine, 202 F.Supp.2d 1020 (D.S.D.
16
     2002); Crowder v. Kitagawa, 81 F.3d 1480, 1483 (9th Cir. 1986).
17

18        (2)   Plaintiffs have a strong likelihood of success on the

19   merits of their claims because it appears that (1) the
20
     electronic bingo machines at issue comply with California Penal
21
     Code section 326.5 (“Section 326.5”) because, inter alia, they
22
     provide paper bingo cards from which a winning pattern can be
23

24   determined and they do not operate as slot machines as defined

25   by Penal Code Sections 330a, 330b and 330.1; (2) the Bureau of
26
     Gambling Control’s (“Bureau’s”) interpretation of “card” under
27
     Section 326.5(o) to preclude the use of electronic cards
28
     discriminates against disabled individuals in violation of the

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         Case 2:08-cv-01241-JAM-EFB Document 19 Filed 06/05/08 Page 3 of 6


 1   federal Americans with Disabilities Act; (3) the Bureau’s
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     interpretation of “card” under Section 326.5(o) to prohibit
 3
     electronic cards violates Plaintiffs’ due process rights; and
 4
     (4) the other statutes cited in the Bureau’s May 2008 cease-and-
 5

 6   desist orders are facially inapplicable.

 7        (3)   The balance of hardships weighs in favor of
 8
     Plaintiffs.    If injunctive relief is not granted and the Bureau
 9
     seizes the electronic bingo machines at issue and shuts down
10
     bingo facilities using electronic bingo machines, Plaintiffs
11

12   will be irreparably harmed as follows: the charitable

13   organization Plaintiffs would suffer a severe reduction in
14
     revenue and a resulting decrease in their ability to deliver
15
     social services; Plaintiff Video Gaming Technologies, Inc.
16
     (“VGT”) would suffer a dramatic loss of income and the seizure
17

18   of its property without due process; and the individual disabled

19   Plaintiffs would lose their freedom to engage in this form of
20
     entertainment on an equal footing with their non-disabled peers.
21
          (4)   No imminent harm will befall the Bureau of Gambling
22
     Control or the citizens of California if injunctive relief is
23

24   granted and the Bureau is not permitted to effectuate its

25   interpretation of Section 326.5 of the California Penal Code
26
     immediately.
27
          (5)   The public interest favors granting injunctive relief
28
     and maintaining the status quo to allow bingo facilities to

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         Case 2:08-cv-01241-JAM-EFB Document 19 Filed 06/05/08 Page 4 of 6


 1   continue to provide revenue to charitable organizations.          It is
 2
     further in the public interest to ensure that disabled persons
 3
     have access to the same services as non-disabled persons pending
 4
     resolution of the merits of Plaintiffs’ case.
 5

 6        Accordingly, IT IS HEREBY ORDERED that a temporary

 7   restraining order is entered, effective as of June 5, 2008, at
 8
     5:00 pm., restraining and enjoining Defendants and any other
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     person and/or entity or agency acting in concert or
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     participation with them(including, but not limited to, the
11

12   California Attorney General and any other division or bureau of

13   the California Department of Justice), from enforcing in any
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     manner (including, but not limited to, seizing the electronic
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     bingo machines at issue in this case, commencing criminal
16
     prosecutions, and halting the play of charitable bingo) the
17

18   cease-and-desist orders issued by the Bureau on Gilman Street

19   Bingo in Berkeley (served May 12, 2008), the Sacramento Bingo
20
     Center in Sacramento (served May 7, 2008), the North Watt Bingo
21
     Center Parlor in Sacramento (served May 8, 2008), and the
22
     Madison Mall Bingo Center in Sacramento (served May 8, 2008).
23

24   No bond is required.

25        IT IS FURTHER ORDERED that Defendants shall appear before
26
     Judge John A. Mendez, in Courtroom 6, of the United States
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     District Court, Eastern District of California, located at 501 I
28
     Street, Sacramento, CA, on June 25, 2008 at 10:00 am, or as soon

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           Case 2:08-cv-01241-JAM-EFB Document 19 Filed 06/05/08 Page 5 of 6


 1   thereafter as the matter may be heard, and show cause why a
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     preliminary injunction should not issue during the pendency of
 3
     this action restraining and enjoining Defendants and any other
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     person and/or entity or agency acting in concert or
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 6   participation with them (including, but not limited to, the

 7   California Attorney General and any other division or bureau of
 8
     the California Department of Justice), from enforcing in any
 9
     manner (including, but not limited to, seizing the electronic
10
     bingo machines at issue in this case, commencing criminal
11

12   prosecutions, and halting the play of charitable bingo) the

13   cease-and-desist orders issued by the Bureau on Gilman Street
14
     Bingo in Berkeley (served May 12, 2008), the Sacramento Bingo
15
     Center in Sacramento (served May 7, 2008), the North Watt Bingo
16
     Center Parlor in Sacramento (served May 8, 2008), and the
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18   Madison Mall Bingo Center in Sacramento (served May 8, 2008).

19         Any response or opposition to this Order to Show Cause
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     shall be filed no later than June 16, 2008 at 4:00 pm.           Any
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     reply brief shall be filed no later than June 20, 2008 at 4:00
22
     pm.
23

24         Memoranda of law in opposition to or in support of this

25   Order to Show Cause, and reply memoranda are limited to fifteen
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     (15) pages. Plaintiffs are further ordered to make available for
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     the Court and counsel’s inspection at least two (2) of the
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     electronic bingo machines at issue. The inspection will take

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         Case 2:08-cv-01241-JAM-EFB Document 19 Filed 06/05/08 Page 6 of 6


 1   place at the hearing on this matter on June 25, 2008. If
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     Plaintiffs are unable to produce these machines in Court on that
 3
     date, they should arrange for such an inspection at a location
 4
     and date and time convenient to the Court. The date, time and
 5

 6   location shall be arranged with the Court’s courtroom deputy.

 7   IT IS SO ORDERED.
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     Dated: June 5, 2008              _____________________________
 9                                    JOHN A. MENDEZ,
                                      UNITED STATES DISTRICT JUDGE
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